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    AO 245S (CASDRev. 08113) Judgment in a Crimina1 Case

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                                          UNITED STATES DISTRICT COURT       r- \; .' . -,
                                     SOUTHERN DISTRICT OF CALIFORNIA    .. , . - . - ~ - -' l( : ~ ::
                   UNITED STATES OF AMERICA          JUDGMENT IN A CRIMINk. CAS~            ! ..
                                     v.                                (For Offenses Committed On or AftcrNovembor I, 1981)
                  VICTORIA MURILLO-PEREZ (4)                              CaseNumber:        ISCRI416-BA~ -                Tt'l       !



                                                                       mOMAS S. SIMS

    REGISTRATION NO.                 501252,(
    181 Cqnec:cicn ofSenlmce fO£ C_ _ (Foci. R. Crim. P. 36)

    181 pleaded guiJty to count(s)         ONE (1) OF THE SUPERSEDING INDICTMENT

    o was found guilty on count(s)
        • a plea ofnot RUiltv.
    Accordingly. the defendant is adjudged guiJty of such count(s), which involve the following offense(s):
                                                                                                                              COUD~
    }ltIeAMoD                         Nature ofOffeJ!K                                                                     Nambe~S>
    18 USC 371 AND                    CONSPIRACY TO BRING IN CERTAIN ALIENS AND                                                   I       I
    1324(a)(2)(B)(ii)                 BRINGING IN CERTAIN ALIENS FOR FINANCIAL GAIN
                                                                                                                                          I



        The defendant is sentenced as provided in pages 2 through                4         of this judgment
    The ~ is imposed pursuant to the Sentencing Reform Act of 1984.
    o The defendant bas been f~ not guilty on count(s)
    181 Count(s) UNDER[.YING AND REMAINING                                   dismissed on the motion of the United States.

    181       As$essment; $100.00 WAIVED.




    IBl No fine                  0 Forfeiture pursuant to order filed                                     • included -herein.
                                                                                                                         ,
           IT IS ORDERED that tbe defendant shall notify tbe United States Attorney for this district within 30 days bf 1liiy
    ~ of name, residence, or mailing address wrtil all fines, restitution, costs, and special assessments imposed ~ this
    judanlent are fully paid. If ordered to pay restitution, the defendant shall notify tbe court and United States A~ of
    any IIUIterial change in the defendant's economic circumstances.


                                                                        JANUARY 25.2016




                                                                        UNITED STATES DISTRICT JUDGE
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AO 245B (CASD Rev. 081l3) Judgment in a Criminal Case

DEFENDANT:                VICTORIA MURILLO-PEREZ (4)                                               Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o   at _ _ _ _ _ _ _ _ A.M.                        on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:
                                __________________ to ____________________
       Defendant delivered on


 at ________________________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       15CR1416-BAS
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   VICTORlA MURILLO-PEREZ (4)                                                                   Judgment - Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check. ijapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2ooo, pursuant to 18 USC section 3583(aX7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifYing offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          (fthisjudgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without me pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and foHow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training. or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view of the probation officer~
     II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a Jaw enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent ofa law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shaJl pennit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.


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DEFENDANT:              VICTORIA MURILLO-PEREZ (4)                                            Judgment - Page 4 of 4
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                                 SPECIAL CONDITIONS OF SUPERVISION


     I. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of infonnation between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be detennined by the probation officer, based on ability to pay.


     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of SIX (6)
        Months (punitive).

     4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     5. Not enter or reside in the RepUblic of Mexico without pennission of the court or probation officer.


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